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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


SARAH STRONG,                                    Case No.: 0:21-cv-01630-NEB-TNL

                     Plaintiff,
                                                 STIPULATION OF DISMISSAL
v.                                               WITH PREJUDICE

EQUIFAX INFORMATION SERVICES,
LLC,

                     Defendant.




       Plaintiff Sarah Strong and Defendant Equifax Information Services, LLC, by and

through undersigned counsel, hereby stipulate that all claims against Equifax shall be

dismissed with prejudice, each party to bear their own attorney’s fees and costs. There ar e

no remaining defendants in this matter.




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        CASE 0:21-cv-01630-NEB-TNL Doc. 14 Filed 10/19/21 Page 2 of 2




                                         RESPECTFULLY SUBMITTED,

DATED: October 19, 2021

 By: /s/ Jenna Dakroub                          By: /s/ Jacob W. Elrich
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 Sarah Strong                                   Attorneys for Defendant
                                                Equifax Information Services, LLC



                           CERTIFICATE OF SERVICE

      I hereby certify that on October 19, 2021, I electronically filed the foregoing with

the Clerk of the Court using the ECF system, which will send notice of such filing to all

attorneys of record in this matter. Since none of the attorneys of record are non -ECF

participants, hard copies of the foregoing have not been provided via personal delivery or

by postal mail.

      PRICE LAW GROUP, APC
      /s/ Elika Ruintan




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